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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

   IN RE:                                               :        CHAPTER 7
                                                        :
   KENNETH PAUL WELLINGTON,                             :
                                                        :        CASE NO. 18-58335-JWC
            Debtor.                                     :
                                                        :


                                           REPORT OF SALE
            COMES NOW S. Gregory Hays, the Chapter 7 Trustee in the above-captioned

   matter, and files this Report of Sale pursuant to Bankruptcy Rule 6004(f), and shows the

   Court as follows:

                                                       1.

            On or about July 31, 2018, the Trustee sold real property of the estate known as

   3301 Forrest Hills Drive, Atlanta, GA 30354 (“Property”) to Mario J. Richardson

   (“Purchaser”) for $257,500 as ordered and approved by the Court on July 24, 2018

   [Doc. No. 24].

                                                       2.

            Attached hereto as Exhibit “A” is the Settlement Statement from the sale1. The

   Trustee reports that he has completed the delivery of the Property to the Purchaser and




   1
     The Property sale closed free and clear of liens. After the sale closing, Trustee paid LoanDepot.com, LLC,
   the mortgage holder, $199,243.15.
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   has received net funds of approximately $13,000 from the sale.

          Respectfully submitted this 16th day of November, 2018.

                                                          /s
                                                      S. Gregory Hays
   Hays Financial Consulting, LLC                     Chapter 7 Trustee
   2964 Peachtree Road, N.W., Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net
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                                  Exhibit “A”
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                                 CERTIFICATE OF SERVICE

          I hereby certify that I am over the age of 18 and that on this day I served a copy of

   the foregoing REPORT OF SALE by first class U.S. Mail, with adequate postage prepaid

   on the following persons or entities at the addresses stated:

             Office of the United States Trustee
             362 Richard B. Russell Building
             75 Ted Turner Drive, SW
             Atlanta, GA 30303

             Kenneth Paul Wellington
             1304 Meadows Drive
             Birmingham, AL 35235

             Eric E. Thorstenberg
             Eric E. Thorstenberg, Attorney at Law,
             Suite 101
             333 Sandy Springs Circle
             Atlanta, GA 30328

   Dated: November 16, 2018.

                                                            /s
                                                         S. Gregory Hays
                                                         Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Road, N.W., Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net
